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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO.:

 IRMA LILIANA CORTES,

                Plaintiff,
 v.

 COMPLETE HOME CARE OF BROWARD
 COUNTY, LLC COMPLETE HOME CARE
 OF THEPALM BEACHES, LLC,

             Defendant.
 __________________________________/

                                         COMPLAINT
                                     {Jury Trial Demanded}

        Plaintiff, IRMA LILIANA CORTES, brings this action against Defendants, COMPLETE

 HOME CARE OF BROWARD COUNTY, LLC and COMPLETE HOME CARE OF THE PALM

 BEACHES, LLC, pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C § 201 et seq., and

 alleges as follows:

 1.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiff IRMA LILIANA CORTES was a resident of the State

 of Florida and an employee in the domestic service of a household and performing a variety of

 household services as defined by the FLSA under 29 U.S.C. § 202.

 3.     Plaintiff worked for Defendants in Broward County, Florida.

 4.     At all times material hereto, Plaintiff engaged in interstate commerce on a regular and

 recurring basis within the meaning of the FLSA.

 5.     At all times material hereto, Defendant COMPLETE HOME CARE OF BROWARD

 COUNTY, LLC was a Florida limited liability corporation with its principal place of business in
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 South Florida, engaged in commerce in the field of home healthcare, at all times material hereto

 was the “employer” of Plaintiff as that term is defined under statutes referenced herein, engaged

 along with its employees in interstate commerce, and has annual gross sales and/or business

 volume of $500,000 or more.

 6.     At all times material hereto, Defendant COMPLETE HOME CARE OF THE PALM

 BEACHES, LLC was a Florida limited liability corporation with its principal place of business in

 South Florida, engaged in commerce in the field of home healthcare, at all times material hereto

 was the “employer” of Plaintiff as that term is defined under statutes referenced herein, engaged

 along with its employees in interstate commerce, and has annual gross sales and/or business

 volume of $500,000 or more.

 7.     Defendants, COMPLETE HOME CARE OF BROWARD COUNTY, LLC and

 COMPLETE HOME CARE OF THE PALM BEACHES, LLC, were joint employers of Plaintiff,

 under the Fair Labor Standards Act, shared Plaintiff’s services, had Plaintiff acting in the interest

 of each business, and shared common control of Plaintiff.

 8.     Defendants, COMPLETE HOME CARE OF BROWARD COUNTY, LLC and

 COMPLETE HOME CARE OF THE PALM BEACHES, LLC, LLC, are a single enterprise under

 the Fair Labor Standards Act, performed related activities through unified operation and common

 control for a common business purpose, engaged along with their employees in interstate

 commerce, and have an annual gross sales and/or business volume of $500,000 or more.

 9.     Two or more of Defendants’ employees handled tools, supplies, and equipment

 manfuactured outside Florida in furthernace of their business including but not limited to phones,

 computers, computer monitors, computer keyboards, computer mice, pens, and paper.

 10.    Plaintiff IRMA LILIANA CORTES worked for Defendants as a home health aide.
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 11.     Defendants failed to pay Plaintiff’s full and proper overtime wages of 1.5 times Plaintiff’s

 regular hourly rate for hours worked over 40 each week.

 12.     Defendants failed to pay Plaintiff’s full and proper minimum wages for certain hours

 worked during Plaintiff’s employment.

 13.     Attached as Exhibit A is a preliminary calculation of Plaintiff’s claims. These amounts may

 change as Plaintiff engages in the discovery process.

 14.     Defendants knowingly and willfully refused to pay Plaintiff’s legally-entitled wages.

 15.     Plaintiff has complied with all conditions precedent to bringing this suit, or same have been

 waived or abandoned.

 16.     Plaintiff has retained the services of the undersigned and is obligated to pay for the legal

 services provided.

                                     COUNT I
                 VIOLATION OF FAIR LABOR STANDARDS ACT (“FLSA”)
                                ALL DEFENDANTS

 17.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-16 above as if

 set forth herein in full.

 18.     Plaintiff alleges this action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 216 (b),

 that Plaintiff is entitled to: (i) unpaid minimum wages; (ii) time-and-a-half overtime pay, and (iii)

 liquidated damages pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

 19.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

         WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, plus

 costs, reasonable attorneys’ fees, and such other remedy as the court deems just and appropriate.
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                                    Respectfully submitted,

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